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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




HAITIAN BRIDGE ALLIANCE, et al.,

            Plaintiffs,

               v.

JOSEPH R. BIDEN, et al.,
                                         Civil Action No. 1:21-cv-03317 (JMC)
           Defendants.




 MEMORANDUM OF LAW OF AMICUS CURIAE IMMIGRATION REFORM LAW
     INSTITUTE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS


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                        CORPORATE DISCLOSURE STATEMENT

       The Immigration Reform Law Institute is a 501(c)(3) nonprofit corporation. It does not

have a parent corporation and does not issue stock.




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                              INTEREST OF AMICUS CURIAE

        Amicus curiae the Immigration Reform Law Institute (“IRLI”) seeks the Court’s leave to

file this brief for the reasons set forth in the accompanying motion.1 IRLI is a not for profit

501(c)(3) public interest law firm dedicated to litigating immigration-related cases on behalf of,

and in the interests of, United States citizens, and also to assisting courts in understanding and

accurately applying federal immigration law.        For more than twenty years the Board of

Immigration Appeals has solicited supplementary briefing, drafted by IRLI staff, from the

Federation for American Immigration Reform, of which IRLI is a supporting organization. IRLI

has litigated or filed amicus curiae briefs in a wide variety of cases, including Trump v. Hawaii,

138 S. Ct. 2392 (2018); United States v. Texas, 136 S. Ct. 2271 (2016); Arizona Dream Act Coal.

v. Brewer, 818 F.3d 101 (9th Cir. 2016); Washington All. of Tech. Workers v. U.S. Dep’t of

Homeland Sec., 74 F. Supp. 3d 247 (D.D.C. 2014); Save Jobs USA v. U.S. Dep’t of Homeland

Sec., 942 F.3d 504 (D.C. Cir. 2019); Matter of Silva-Trevino, 26 I. & N. Dec. 826 (B.I.A. 2016);

and Matter of C-T-L-, 25 I. & N. Dec. 341 (B.I.A. 2010). IRLI has also represented a wide variety

of plaintiffs in immigration matters, ranging from American workers who have been displaced by

foreign workers to foreign workers who have not been paid by their employers. Consequently,

IRLI is dedicated to assisting the courts in maintaining a rational immigration system for the

benefit of its clients.




1
 Consistent with Fed. R. App. P. 29(a)(4)(E), counsel for amicus curiae authored this brief, and
the motion it accompanies, in whole, and no counsel for a party authored the brief in whole or in
part, nor did any person or entity, other than the amicus and its counsel, make a monetary
contribution to preparation or submission of the brief.

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                                       INTRODUCTION

       In March of 2020, the Department of Health and Human Services (“HHS”) issued an

interim final rule that empowered the Director of the Centers for Disease Control and Prevention

(“CDC”) “to suspend the introduction of persons into the United States” because of the global

Covid-19 pandemic. Control of Communicable Diseases; Foreign Quarantine: Suspension of

Introduction of Persons Into United States From Designated Foreign Countries or Places for Public

Health Purposes, 85 Fed. Reg. 16,559, 16,563 (Mar. 24, 2020). Two days later, the CDC issued

an order barring certain “covered aliens” from entering the United States from either Mexico or

Canada “regardless of their country of origin.” Centers for Disease Control and Prevention, Notice

of Order Under Sections 362 and 365 of the Public Health Service Act Suspending Introduction

of Certain Persons From Countries Where a Communicable Disease Exists, 85 Fed. Reg. 17,060,

17,061 (Mar. 26, 2020) (the “Interim Final Rule”). The Interim Final Rule included a thirty-day

period for public comment. Id. A final rule implementing the Interim Final Rule was issued in

September 2020. HHS explained that the September Rule “is critical to protecting U.S. public

health” during the Covid-19 pandemic. Centers for Disease Control and Prevention, Control of

Communicable Diseases; Foreign Quarantine: Suspension of Introduction of Persons Into United

States From Designated Foreign Countries or Places for Public Health Purposes, 85 Fed. Reg.

56,424 (Sept. 11, 2020) (the “September Rule”).

       At issue in this case is the version of the rule issued in August 2021. The CDC promulgated

this order continuing the prohibition of “covered aliens” entering the United States from either

Mexico or Canada. See Centers for Disease Control and Prevention, Public Health Reassessment

and Order Suspending the Right To Introduce Certain Persons From Countries Where a

Quarantinable Communicable Disease Exists, 86 Fed. Reg. 42,828 (Aug. 5, 2021) (the “Title 42




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Order”). Plaintiffs allege that the Title 42 Order violates the Administrative Procedure Act as well

as the Fifth Amendment to the U.S. Constitution. IRLI’s brief supports Defendants’ arguments

that the actions of HHS and CDC in closing the borders in response to the Covid-19 pandemic did

not violate either the Fifth Amendment or the APA.

                                           ARGUMENT

    I. The CDC’s Title 42 Order does not violate the Fifth Amendment.

       The Due Process clause of the Fifth Amendment to the U.S. Constitution provides that

“[n]o person shall . . . be deprived of life, liberty, or property, without due process of law.” U.S.

Const. amend. V. Plaintiffs assert both equal protection and due process violations.

       These claims, however, run afoul of the well-established precedents that aliens outside of

the United States are not entitled to the protections of the Fifth Amendment. See, e.g., United

States v. Verdugo-Urquidez, 494 U.S. 259, 269 (1990) (“Indeed, we have rejected the claim that

aliens are entitled to Fifth Amendment rights outside the sovereign territory of the United States.”);

Rasul v. Myers, 563 F.3d 527, 531 (D.C. Cir. 2009) (“The long line of cases dealing with

constitutional rights of both lawful resident aliens and illegal aliens establishes only that aliens

receive constitutional protections when they have come within the territory of the United States

and developed substantial connections with this country.”) (citation and quotation marks omitted);

Gomez v. Trump, 485 F. Supp. 3d 145, 188 (D.D.C. 2020) (“At the threshold, the Fifth

Amendment’s equal protection clause does not protect any Plaintiff outside the United States, so

they have no constitutional claim.”); Kiyemba v. Obama, 555 F.3d 1022, 1026 (D.C. Cir. 2009)

(“Decisions of the Supreme Court and of this court—decisions the district court did not

acknowledge—hold that the due process clause does not apply to aliens without property or

presence in the sovereign territory of the United States.”), vacated and remanded, 559 U.S. 131




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(2010), reinstated in relevant part, 605 F.3d 1046 (D.C. Cir. 2010), cert. denied, 563 U.S. 954

(2011).

          Plaintiffs’ claims fail for this reason alone. Even if that were not so, they also would fail

because Plaintiffs fail to allege that any violation of equal protection, substantive due process, or

procedural due process actually occurred.

   A. The Title 42 Order does not violate the Equal Protection component of the Fifth
      Amendment’s Due Process Clause.

          While the Supreme “Court has always understood th[e] [Due Process] Clause to provide

some measure of protection against arbitrary treatment by the Federal Government, it is not as

explicit a guarantee of equal treatment as the Fourteenth Amendment[.]” Adarand Constructors

v. Pena, 515 U.S. 200, 213 (1995) (emphasis in original). In other words, the Due Process Clause

requires that “[t]he federal sovereign, like the States, must govern impartially.” Hampton v. Mow

Sun Wong, 426 U.S. 88, 100 (1976). Still, “there may be overriding national interests which justify

selective federal legislation that would be unacceptable for an individual State.” Id. Thus,

                 [w]hen the Federal Government asserts an overriding national
                 interest as justification for a discriminatory rule which would violate
                 the Equal Protection Clause if adopted by a State, due process
                 requires that there be a legitimate basis for presuming that the rule
                 was actually intended to serve that interest. If the agency which
                 promulgates the rule has direct responsibility for fostering or
                 protecting that interest, it may reasonably be presumed that the
                 asserted interest was the actual predicate for the rule. That
                 presumption would, of course, be fortified by an appropriate
                 statement of reasons identifying the relevant interest.

Id. at 103. As stated, the “overriding national interest” in this case is the global Covid-19

pandemic. Thus, even if Defendants’ actions were found to be discriminatory, the explanation

provided is sufficient to override a potential Fifth Amendment equal protection violation.




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        Intentional discrimination analysis “demands a sensitive inquiry into such circumstantial

and direct evidence as may be available.” Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,

429 U.S. 252, 266 (1977). Such evidence includes “[t]he impact of the official action,” “the

historical background of the decision . . . particularly if it reveals a series of official actions taken

for invidious purposes,” “the specific sequence of events leading up to the challenged decision,”

“[d]epartures from the normal procedural sequence,” and “[t]he legislative or administrative

history” of the challenged rule. Id. at 266-68. Thus, an action by the federal government “will not

be held unconstitutional solely because it results in a racially disproportionate impact.

Disproportionate impact is not irrelevant, but it is not the sole touchstone of an invidious racial

discrimination. Proof of racially discriminatory intent or purpose is required to show a violation

of the Equal Protection Clause.” Id. at 264-65 (internal citation and quotation marks omitted).

Such intent or purpose is often lacking in immigration cases. For example, as the Supreme Court

has acknowledged, “because Latinos make up a large share of the unauthorized alien population,

one would expect them to make up an outsized share of recipients of any cross-cutting immigration

relief program. Were this fact sufficient to state a claim, virtually any generally applicable

immigration policy could be challenged on equal protection grounds.” Dep’t of Homeland Sec. v.

Regents of the Univ. of Cal., 140 S. Ct. 1891, 1915-16 (2020).

        Plaintiffs allege that the Title 42 Order that closed the border to migrants due to the global

Covid-19 pandemic violated their right to equal protection because it was “motivated at least in

part by discriminatory purpose based on race and presumed national origin.” Complaint, Doc. 1

at ¶ 287. Yet each iteration of the CDC’s orders under Title 42 has been facially neutral and

generally applicable to all illegal aliens without regard to race or national origin. Furthermore,

Plaintiffs’ complaint contains no evidence that HHS or the CDC acted with the intent to single out




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those of Haitian descent for exclusion under the Title 42 Order.            Plaintiffs’ unsupported

determination that the Executive crafted a “Haitian Deterrence Policy” is wholly insufficient to

show discriminatory intent under Arlington Heights, and should be rejected by this Court.

   B. The Title 42 Order does not violate substantive due process.

       The substantive component of the Fifth Amendment’s Due Process Clause is activated

“only when a fundamental right is involved, thus ensuring that the government does not

unjustifiably infringe on that right.” Smith v. United States, 277 F. Supp. 2d 100, 105 (D.D.C.

2003). Rights are fundamental when they “are implicit in the concept of ordered liberty.” Id. at

106 (quoting Palko v. Connecticut, 302 U.S. 319, 325 (1937)). These substantive protections

“bar[] certain arbitrary, wrongful government actions regardless of the fairness of the procedures

used to implement them.” Ali v. Trump, 959 F.3d 364, 369 (D.C. Cir. 2020) (citation and quotation

marks omitted). It is clearly established in this circuit that “[o]nly government action that is so

egregious, so outrageous, that it may fairly be said to shock the contemporary conscience qualifies

as arbitrary for the purposes of substantive due process.” Id. (citations and quotation marks

omitted). See also Yates v. District of Columbia, 324 F.3d 724, 725 (2003) (“Only the most

egregious official conduct rises to the level of a substantive due process violation.”) (citation and

quotation marks omitted); FOP Dep’t of Corr. Labor Comm. v. Williams, 375 F.3d 1141, 1145

(2004) (“The conscience-shock inquiry is a threshold question in a due process challenge to

executive action.”). Although there is no “precise threshold for alleging an executive action

violates substantive due process rights . . . the bar is high.” Abdelfattah v. United States Dep't of

Homeland Sec., 787 F.3d 524, 542 (2015) (citations omitted).

       Plaintiffs’ substantive due process claim fails to meet this high standard. First, their

complaint fails to allege that Defendants have violated a recognized fundamental right.




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Accordingly, as this Court has recognized, “[w]hen a fundamental right is not implicated, as here,

substantive due process merely prohibits government action that results in a deprivation of a

protected interest when the action fails to have some rational basis.” Save Our Sch.-Southeast &

Ne. v. D.C. Bd. of Educ., No. 04-01500 (HHK), 2006 U.S. Dist. LEXIS 45081, at *54 (D.D.C. July

3, 2006). Plaintiffs fail to identify any such protected interest in their complaint. And, even if

they had done so, the actions taken by HHS and the CDC would easily pass rational basis review

in light of the need to protect the American public during the years-long, worldwide Covid-19

pandemic.

   C. The Title 42 Order does not violate procedural due process.

       Supreme Court precedent makes clear that aliens “ha[ve] only those rights regarding

admission that Congress has provided by statute.” Dep’t of Homeland Sec. v. Thuraissigiam, 140

S. Ct. 1959, 1983 (2020). The D.C. Circuit has acknowledged as much, explaining that “aliens

apprehended while trying to enter the country have no due process rights beyond what Congress

has provided by statute.” M.M.V. v. Garland, 1 F.4th 1100, 1107 (D.C. Cir. 2021). Accordingly,

“[i]n the exercise of its broad power over naturalization and immigration, Congress regularly

makes rules that would be unacceptable if applied to citizens.” Mathews v. Diaz, 426 U.S. 67, 79-

80 (1976). This “fundamental premise of immigration law” gives Congress wide latitude to

regulate the admission and removal of aliens. Demore v. Hyung Joon Kim, 538 U.S. 510, 521

(2003). Importantly, there is a legally recognized “distinction between an alien who has effected

entry into the United States and one who has never entered. . . . It is well established that certain

constitutional protections available to persons inside the United States are unavailable to aliens

outside of our geographic borders.” Zadvydas v. Davis, 533 U.S. 678, 693 (2001) (internal

citations omitted).




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        To succeed on a procedural due process challenge, plaintiffs must allege “a legitimate

claim of entitlement to [a life, liberty, or property] interest.” Smith, 277 F. Supp. 2d at 106. As

this Court has explained, “[i]t is the deprivation of a liberty or property interest itself that triggers

procedural due process requirements, and that deprivation is the Article III injury. The deprivation

is what needs to be redressed; the failure to meet the requirements of due process is what makes

that deprivation redressable.” Rangel v. Boehner, 20 F. Supp. 3d 148, 166 (D.D.C. 2013) (internal

citations omitted).

        Plaintiffs allege a property interest in the right to seek protection from removal, including

asylum and withholding of removal. Complaint ¶ 313 (“By denying Individual Plaintiffs access

to the asylum process and access to other relief from removal, Defendants’ conduct violates

procedural due process.”). Whether such an interest is created by the INA, however, is not

determinative in this case.     The plain language of the Public Health Services Act reflects

Congress’s intention that the Executive have the authority to close the borders in case of a public

health emergency. Therefore, Plaintiffs’ procedural due process claims must fail because the

protected interest to apply for asylum is derived from the INA, which is superseded by the

Executive’s authority under the PHSA. 42 U.S.C. § 265 (providing the President with the

discretion to order the “suspension of the right to introduce” and “the power to prohibit, in whole

or in part, the introduction of persons” for public health purposes.) (emphasis added).

        Indeed, earlier this year the D.C. Circuit held that the Executive, pursuant to its authority

under 42 U.S.C. § 265, likely could exclude illegal aliens from the asylum process altogether.

Huisha-Huisha v. Mayorkas, 27 F.4th 718, 731 (2022) (“It’s true that the § 265 Order forecloses

more than just a grant of asylum; it also forecloses the statutorily mandated procedures that aliens




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use to apply for asylum. But if the asylum decision has already been made—by the § 265 Order—

then those procedures would be futile.”).

       In any event, even were the asylum statute operative, the complaint does not allege that

any plaintiff indicated an intention to apply for asylum and was refused. Additionally, the

complaint indicates that “8,000 Haitian asylum seekers,” including several of the named plaintiffs,

left the U.S. border area at Del Rio for Mexico. Compl. ¶ 129. Plaintiffs cannot claim an injury

from the government’s failure to adhere to procedures when they willingly removed themselves

from the U.S. border.

       The D.C. Circuit also held that “under § 1231(b)(3)(A) and the Convention Against

Torture, the Executive cannot expel aliens to countries where their life or freedom would be

threatened on account of their race, religion, nationality, membership in a particular social group,

or political opinion or where they will likely face torture.” Huisha-Huisha, 27 F.4th at 733.

Plaintiffs’ complaint does not allege that any of the above eligibility requirements for withholding

of removal or CAT protection was met. Plaintiffs cite feeling unsafe, lack of stability, a decades

old murder of a family member, fear of kidnapping, poor conditions in Chile, and gang violence

among the reasons for seeking asylum or protection from removal to Haiti. Compl. ¶¶ 16-22.

While the complaint references the crime and violence in Haiti, none of the Plaintiffs indicated a

fear of torture should they be returned to Haiti. The closest the complaint comes to satisfying this

requirement is the allegation of persecution in Chile based on Haitian descent, but none of the

individual Plaintiffs was expelled to Chile.

       For all of these reasons, Plaintiffs’ claims of procedural due process violations should be

dismissed.




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   II. The CDC’s Title 42 Order does not violate the Administrative Procedure Act.

   A. Defendants have not withheld or delayed agency action.

       Agencies are required, “within a reasonable time . . . to conclude a matter presented to it.”

5 U.S.C. § 555(b). Where the agency “fail[s] to do so, the APA authorizes courts to ‘compel

agency action unlawfully withheld or unreasonably delayed.’” Zaman v. United States Dep’t of

Homeland Sec., Civil Action No. 19-3592 (ABJ), 2021 U.S. Dist. LEXIS 221499, at *6-7 (D.D.C.

Nov. 16, 2021) (quoting 5 U.S.C. § 706(1)). See also Fort Sill Apache Tribe v. Nat’l Indian

Gaming Comm’n, 103 F. Supp. 3d 113, 119 (D.D.C. 2015) (“A person adversely affected by

agency action, including failure to act, is entitled to judicial review under the APA”). As this

Court has recognized, “[t]o compel agency action that is ‘unlawfully withheld,’ a plaintiff must

demonstrate ‘that an agency failed to take a discrete agency action that it is required to take.’” Air

All. Hous. v. United States Chem. & Safety Hazard Investigation Bd., 365 F. Supp. 3d 118, 131

(D.D.C. 2019) (quoting Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004)) (emphasis

original). See also Ctr. for Biological Diversity v. Zinke, 260 F. Supp. 3d 11, 21 (D.D.C. 2017)

(“A plaintiff who asks a court to compel agency action . . . unreasonably delayed under § 706(1)

must pinpoint an agency’s failure to take an action that is both discrete and mandatory.”) (citation

and quotation marks omitted) (emphasis original). Once a plaintiff establishes that an agency was

required to act, “[a]s a general rule, Section 706 of the APA leaves in the courts the discretion to

decide whether agency delay is unreasonable.” Cobell v. Norton, 240 F.3d 1081, 1096 (D.C. Cir.

2001) (citation and quotation marks omitted).

       The first mandatory action that Plaintiffs allege was unlawfully withheld or unreasonably

delayed was their ability to access the asylum process. Compl. ¶ 360 (“By refusing to allow asylum

seekers . . . a meaningful opportunity to apply for asylum or to access any statutory and procedural




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protections . . . Defendant CBP has unlawfully withheld and unreasonably delayed discrete agency

actions mandated by statute”). As explained above, however, the D.C. Circuit has held that those

actions likely were not mandated by statute because the § 265 Order operated as a blanket denial

of asylum, making asylum applications futile. Huisha-Huisha, 27 F.4th at 731. Also, nowhere in

their complaint do the Plaintiffs who were returned to Haiti (or those who chose to go to Mexico)

indicate that they alerted CBP officials of their intention to seek asylum. Plaintiffs cannot hold

CBP accountable for withholding relief that was not requested. Rather, action can only be

compelled on “a matter presented to” an agency. 5 U.S.C. § 555(b).

       Plaintiffs also allege that Defendants failed to follow the procedures in the INA related to

withholding of removal (“WOR”) and the Convention Against Torture (“CAT”). This claim must

also fail. First, 8 U.S.C. § 1231 and the note to § 1231 addressing CAT protection do not contain

any procedures. The statute, entitled “Detention and removal of aliens ordered removed,” merely

instructs the government where aliens with final orders of removal may be removed to. The

provision states that aliens may not be removed to a country where “the alien’s life or freedom

would be threatened . . . because of the alien’s race, religion, nationality, membership in a

particular social group, or political opinion.” 8 U.S.C. § 1231(b)(3)(A). Therefore, Defendants

“ha[ve] not failed to take any discrete agency action that Congress ordered it to take. Petitioners’

general complaints” about the Title 42 process “are simply not justiciable.” In re Aiken Cty., 645

F.3d 428, 437 (D.C. Cir. 2011).

       Plaintiffs’ claims regarding CAT protection must also fail. Again, the statute does not

provide procedures to follow regarding CAT protection, but merely codifies the U.S.’s policy

under certain international agreements. 8 U.S.C. § 1231, note (“It shall be the policy of the United

States not to expel, extradite, or otherwise effect the involuntary return of any person to a country




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in which there are substantial grounds for believing the person would be in danger of being

subjected to torture.”). While true that Plaintiffs expressed fears of general violence and poor

conditions in Haiti, none claimed to fear torture. Additionally, Defendants did have a policy in

place to ensure compliance with CAT obligations. Compl. ¶ 57 (citing to the “Capio Memo”).

This policy guides officers to refer to USCIS “[a]liens that make an affirmative, spontaneous and

reasonably believable claim that they fear being tortured in the country they are being sent back

to.”     Capio Memo, p. 4, available at https://www.documentcloud.org/documents/6824221-

COVID-19-CAPIO.html. Defendants’ are not responsible for Plaintiffs’ failure to make such a

claim.

          Where, as here, “a complaint that contains a claim brought under § 706(1) fails to identify

a discrete and mandatory agency duty, the court must grant the defendant’s Rule 12(b)(6) motion

and dismiss the claim.” Ctr. for Biological Diversity 260 F. Supp. 3d at 21. See also Connecticut

v. United States DOI, 344 F. Supp. 3d 279, 295 (D.D.C. 2018) (“However, a claim under § 706(1)

can proceed only where a plaintiff asserts that an agency failed to take a discrete agency action

that it is required to take.”) (citation and quotation marks omitted). Plaintiffs’ claims regarding

agency action unlawfully withheld or unreasonably delayed should be dismissed.

       B. The alleged “Haitian Deterrence Policy” is not reviewable under the APA.

          In addressing claims under the Administrative Procedure Act (“APA”), a threshold inquiry

is whether the challenged action or policy is a reviewable agency action. Congress, in the APA,

defined an “agency” as “each authority of the Government of the United States, whether or not it

is subject to review by another agency, but does not include (A) the Congress; (B) the courts of

the United States; (C) the governments of the territories or possessions of the United States; (D)

the government of the District of Columbia.” 5 U.S.C. §§ 701(b)(1), 551(1). Importantly, although




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“[t]he President is not explicitly excluded from the APA’s purview, . . . he is not explicitly

included, either.” Franklin v. Massachusetts, 505 U.S. 788, 800 (1992). Due to this failure to

“expressly allow review of the President’s actions, we must presume that his actions are not subject

to [APA] requirements.” Id. at 801.

       Furthermore, absent statutory grants of review, only agency actions that are “final” may be

reviewed under the APA. 5 U.S.C. § 704 (“Agency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a court are subject to judicial

review.”). See also Fort Sill Apache Tribe, 103 F. Supp. at 122 (“Judicial review under Section

706(2) is precluded because there has been no final agency action”); Holistic Candlers &

Consumers Ass’n v. FDA, 664 F.3d 940, 943 (D.C. Cir. 2012) (“The APA, however, only provides

a right to judicial review of final agency action for which there is no other adequate remedy in a

court.”) (citation and quotation marks omitted) (emphasis original); Reliable Automatic Sprinkler

Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 731(D.C. Cir. 2003) (“If there was no final

agency action here, there is no doubt that appellant would lack a cause of action under the APA.”);

Pub. Citizen v. United States Trade Representative, 5 F.3d 549, 551 (D.C. Cir. 1993) (“The central

question in this appeal then is whether Public Citizen has identified some agency action that is

final upon which to base APA review.”). According to court precedent, “[a]gency actions qualify

as final if they ‘mark the consummation of the agency’s decisionmaking process’ and ‘legal

consequences’ flow from them.” Bhd. of Locomotive Eng’rs & Trainmen v. FRA, 972 F.3d 83, 99

(D.C. Cir. 2020) (quoting Bennett v. Spear, 520 U.S. 154, 178 (1997)). See also Pub. Citizen, 5

F.3d at 551 (“To determine whether an agency action is final, ‘the core question is whether the

agency has completed its decisionmaking process, and whether the result of that process is one




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that will directly affect the parties.’”) (quoting Franklin v. Massachusetts, 505 U.S. 788, 797

(1992)) (emphasis original).

       The alleged Haitian Deterrence Policy does not meet these requirements. First, Plaintiffs

do not provide any support for the allegation that this so-called policy was an “agency” action. As

explained, the president is not an “agency” within the meaning of the APA and thus is not a proper

defendant in APA cases. Franklin, 505 U.S. at 800. While true that this count of the complaint is

made against DHS and not the president, the complaint describes the supposed policy as “devised

by White House senior officials” following “a series of discrete decisions made by President

Biden’s senior advisors.” Compl. ¶ 61. Simply naming DHS without specifying how (or if) it was

involved in developing the policy or how it came to adopt the alleged policy is insufficient to

establish agency action.

       Second, Plaintiffs cannot point to a final agency action because Plaintiffs themselves

invented this alleged “policy” and outlined its supposed parameters. See, e.g., Compl. ¶¶ 60, 61.

As this court has explained, Plaintiffs cannot simply “attach[] a ‘policy’ label to their own

amorphous description of” agency actions because “a final agency action requires more.” Bark v.

United States Forest Serv., 37 F. Supp. 3d 41, 50 (D.D.C. 2014). Without “written rules, orders,

or even guidance documents of the [agency] that set forth the supposed policies challenged here,”

Plaintiffs have merely made a “generalized complaint about agency behavior that gives rise to no

cause of action.” Id. at 50-51. Plaintiffs cannot create a policy and impute it to an agency in order

to meet the final agency action requirement.




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                                       CONCLUSION

       For the foregoing reasons, this Court should grant Defendants’ Motion to Dismiss.

Dated: June 17, 2022                               Respectfully submitted,

                                                    /s/ Gina M. D’Andrea

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